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                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                    CRIMINAL MINUTES

 Date: November 6, 2020              Time: 17 minutes                    Judge: SUSAN ILLSTON
 Case No.: 18-cr-00224-SI-1          Case Name: United States v. Tyrone Williams

Attorney for Government: Patrick O'Brien
Attorney for Defendant: Severa Keith
Defendant: [X ] Present [ ] Not Present
Defendant's Custodial Status: [ ] In Custody [X ] Not in Custody

  Deputy Clerk: Esther Chung                           Court Reporter: Debra Pas
  Interpreter: n/a                                     Probation Officer: Mark Unalp


                                       PROCEEDINGS

Motion for Early Termination of Probation (Dkt. 5) - held via Zoom webinar.

                                          SUMMARY

Defendant present and consents to video appearance. Defendant’s counsel explained the reason
why early termination of probation was being requested. The Government stated that they would
defer to the Probation Department’s recommendation. The Probation Department argued that
Defendant’s conduct could not meet the standard of “exceptional” which was required for early
termination. The Defendant spoke on his behalf. The Court requested that a Status Report be
filed by 1/20/2021. If the Court finds the Status Report to be acceptable it will grant the Motion
to Terminate Probation on 1/31/2021.
